               Case 8:20-bk-03608-CPM                 Doc 256       Filed 08/10/20    Page 1 of 2

[Doncn117] [Order Converting Case from Chapter 11 to Chapter 7 Non−Individual]




                                          ORDERED.
Dated: August 10, 2020
(Nunc Pro Tunc to August 7,
2020)




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
                                           www.flmb.uscourts.gov
In re:

                                                                    Chapter 7
CFRA HOLDINGS, LLC                                                  Case No. 8:20-bk-03608-CPM


CFRA, LLC                                                           Case No. 8:20-bk-03609-CPM

CFRA TRI-CITIES, LLC                                                Case No. 8:20-bk-03610-CPM

________Debtor*________/

                     ORDER CONVERTING CASE FROM CHAPTER 11 TO CHAPTER 7
   THIS CASE came on for hearing on July 30, 2020 on the Motion to Convert Case to Chapter 7 (the
Motion) under Section 1112 of the Bankruptcy Code (Document No. 193). The Court finds that Debtor is
eligible for relief under Chapter 7 of the Bankruptcy Code. Accordingly, it is
   ORDERED:
1. This case is converted to a case under Chapter 7 of the Bankruptcy Code.

2. All hearings pending in the Chapter 11 case are cancelled.

3. Pursuant to Local Rule 4001−1(c)(5), any motion for relief from stay pending as of the date of this order
is abated until the movant files an amended motion for relief from stay in the converted case and serves it on
the appropriate parties.

   4. Any appointed creditors' committee is dissolved.

*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
               Case 8:20-bk-03608-CPM              Doc 256      Filed 08/10/20        Page 2 of 2


                         NOTICE REGARDING CONVERSION TO CHAPTER 7

    1. The U.S. Trustee has scheduled an additional meeting of creditors pursuant to 11 U.S.C. § 341, for
September 10, 2020 at 01:00 PM. The meeting will be held telephonically. Trustee: Dawn A Carapella.
Call in Number: 888−394−4587. Passcode: 6653091. Debtor must provide a Photo ID and acceptable proof
of Social Security Number to the Trustee in the manner directed by the Trustee. The § 341 meeting may be
adjourned from time to time without further written notice.

   2. The U.S. Trustee has appointed a Chapter 7 Trustee:

Dawn A Carapella
P.O. Box 67
Valrico, FL 33595−0067

   3. The deadline to file a proof of claim is October 19, 2020 . Creditors who filed a proof of claim prior to
the conversion of the case do not need to file a new proof of claim.

   4. Within 14 days from the date of the Order Converting the Case, Debtor shall file any unfiled Schedules
or Statements required by Fed. R. Bankr. P. 1007 or the case may be dismissed.

   5. Within 14 days from the date of the Order Converting Case, as required by Fed. Bankr. P. 1019, Debtor
shall file a schedule of debts incurred after the commencement of the case and before the entry of the order of
conversion, including the name and address of each holder of a claim. If the case is converted after
confirmation of a plan, Debtor shall also file a schedule of all properties acquired after the commencement of
the case but before the entry of the order of confirmation, and a schedule of all executory contracts and
unexpired leases entered into or assumed after the commencement of the case but before the entry of the
conversion order.

   6. Within 14 days from the date of the Order Converting Case, Debtor shall pay unpaid filing fees in the
amount of N/A and the $15.00 fee for converting the case, if not previously paid. Failure to pay filing fees
may result in dismissal of the case or the discharge being withheld. Payment shall be made by cashier's check
or money order payable to

Clerk, U.S. Bankruptcy Court
Sam M. Gibbons United States Courthouse
801 North Florida Avenue, Suite 555
Tampa, FL 33602

   7. Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones and,
except in Orlando, computers into the Courthouse absent a specific order of authorization issued beforehand
by the presiding judge, a valid Florida Bar identification card, or pro hac vice order. Please take notice that as
an additional security measure a photo ID is required for entry into the Courthouse.
